Suit to foreclose a mortgage.
Plaintiff alleged that defendant Redman was indebted to him in the sum of two thousand dollars evidenced by a promissory note and secured by a mortgage upon certain real property situated in Los Angeles County. Defendant Cooney was made a party defendant to the foreclosure proceeding for the reason that he claimed an interest in the *Page 795 
mortgaged premises by reason of a certain lien upon the property.
Judgment was rendered in favor of plaintiff and against defendant Redman. The judgment determined that defendant Cooney had no interest in the property for the reason that the judgment under which he claimed his lien attached was null and void. Defendant Cooney appeals. [1] The precise question here involved is discussed and decided in Jarrett v. Redman, ante,
p. 482 [250 P. 183]. Upon the authority of that case the judgment herein is affirmed.
Knight, J., and Campbell, J., pro tem., concurred. *Page 1 